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                                                             Magistrate Judge Benton
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10                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
11                                       AT SEATTLE

12   UNITED STATES OF AMERICA,                    )
                     Plaintiff,                   )      NO CR06-192 JCC
13                                                )
            v.                                    )      ORDER APPOINTING PSYCHIATRIST
14                                                )      TO DETERMINE DEFENDANT’S
                                                  )      COMPETENCE
15
     RAFAEL DIAZ LAUREANO,                        )      TO STAND TRIAL OR PLEAD GUILTY
16
                                                  )
                                   Defendant.     )
17
            The court has previously ordered (docket # 107) that defendant RAFAEL DIAZ
18   LAUREANO’S undergo a psychiatric examination to determine his competence to plead guilty
19   or stand trial under 18 U.S.C. § 4241.

20
            The court hereby appoints psychiatrist Seth Cohen, M.D. to perform the competency
     evaluation at the Federal Detention Center SeaTac and complete his evaluation and report on or
21
     before October 23, 2006. Dr. Seth Cohen’s address is: 130 Nickerson St., Suite 204, Seattle,
22
     WA 98109.
23          The Federal Detention Center SeaTac shall admit Dr. Seth Cohen for the purpose of

24   performing the evaluation.

25   ORDER APPOINTING PSYCHIATRIST
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                                                                                 LAW OFFICES OF
                                                                             HOWARD RATNER, INC. P.S.
                                                                              720 THIRD AVENUE #2100
                                                                              SEATTLE, WA 98104-1804
                                                                         (206) 625-0737 FAX (206) 682-5797
              Case 2:06-cr-00192-JCC         Document 113        Filed 10/04/06      Page 2 of 2



1             The court further orders that Dr. Seth Cohen’s fees for the evaluation be paid by the
2    court.

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              Dated this 4th day of October, 2006.



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                                            MONICA J. BENTON
8                                           United States Magistrate Judge

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25   ORDER APPOINTING PSYCHIATRIST
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